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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.


  PP RETAIL USA, LLC, d/b/a PHILIPP
  PLEIN, a foreign limited liability company,

        Defendant.
  ______________________________________/

                                             COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant PP RETAIL

  USA, LLC, d/b/a PHILIPP PLEIN, a foreign limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This is also an action for declaratory and injunctive relief to prevent the continuing act of trespass

  against the Plaintiff’s personal property (his personal computer), and for compensatory damages

  to Plaintiff for such trespass. Remedies provided under common law for trespass are not exclusive

  and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplemental jurisdiction over

  Plaintiff’s common law trespass claim pursuant to 28 U.S.C. §1367.



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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

  suffers from optical nerve atrophy, a permanent eye disease and medical condition that

  substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

  substantially limited in performing one or more major life activities, including, but not limited to,

  seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

  member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff

  further is an advocate of the rights of similarly situated disabled persons and is a “tester” for the

  purposes of asserting his civil rights and monitoring, ensuring, and determining whether places of

  public accommodation and/or their respective and associated websites are in compliance with the

  ADA, Rehab Act, and any other applicable disability laws, regulations, and ordinances.

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available auxiliary aids, screen reader software, and other

  technology and assistance. Screen reader software translates the visual internet into an auditory

  equivalent. At a rapid pace, the software reads the content of a webpage to the user. “The screen

  reading software uses auditory cues to allow a visually impaired user to effectively use websites.

  For example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’

  which will bring him to another webpage, through visual cues, such as a change in the color of the



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  text (often text is turned from black to blue). When the sighted user's cursor hovers over the link,

  it changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather

  than visual -- cues to relay this same information. When a sight impaired individual reaches a link

  that may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the

  link says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader,

  the visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail

  stores selling men’s, women’s and children’s apparel, footwear, bags, and accessories, including

  one of the outlet stores that Plaintiff intended to patronize in the near future located at The

  Colonnade at Sawgrass, 1800 Sawgrass Mills Circle, Sunrise, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently blind and visually disabled, to effectively communicate and comprehend information

  available on the internet and thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of retail stores selling men’s, women’s, and children’s apparel,

  footwear, bags, and accessories under the brand name “Philipp Plein”. Each “Philipp Plein” store



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  is open to the public. As the owner, operator, and/or controller of these retail stores, Defendant is

  defined as a place of “public accommodation" within meaning of Title III because Defendant is a

  private entity which owns and/or operates “a bakery, grocery store, clothing store, hardware store,

  shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

  §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA, 42 U.S.C.

  §12182, §12181(7)(E), and its implementing regulation; 28 C.F.R. Part 36.

         12.     Defendant     also   controls,   maintains,   and/or    operates   adjunct    websites,

  https://www.plein.com/us/home and https://www.pleinoutlet.com/us (the “Websites”). One of the

  functions of the Websites is to provide the public information on the locations of Defendant’s

  stores through a “store locator” feature that identifies physical store locations that sell Defendant’s

  merchandise throughout the United States and within the State of Florida. Defendant also sells to

  the public its merchandise through the Websites, which act as points of sale for merchandise

  available in, from, and through Defendant’s physical stores.

         13.     The Websites also service Defendant’s physical stores by providing information on

  available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Websites allow the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical stores, the Websites have a nexus to,

  and are an extension of and gateway to, the goods, services, privileges, and advantages of



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  Defendant’s physical stores, which are places of public accommodation under the ADA. As

  extensions of and services, privileges, and advantages provided by a place of public

  accommodation as defined under the ADA, the Websites are an extension of the services,

  privileges, and advantages made available to the general public by Defendant at and through its

  brick-and-mortar locations and businesses. Furthermore, the Websites are necessary services and

  privileges of Defendant’s physical stores in that, as points of sale for Defendant’s merchandise,

  they enable users of the Websites to make online purchases of Defendant’s merchandise that is

  also available from and in its physical stores.

          15.     Because the public can view and purchase Defendant’s goods through the Websites

  that are also offered for sale in Defendant’s physical stores, thus having the Websites act as points

  of sale for Defendant’s goods also sold in the physical stores, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Websites are extensions of and gateways to the physical stores, which are places of public

  accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Websites are

  necessary services, privileges, and advantages of Defendant’s brick and mortar stores that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical stores.

          16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Websites. Since the Websites are open to the public through the

  internet, by this nexus the Websites are intangible services privileges, and advantages of

  Defendant’s brick and mortar stores that must comply with all requirements of the ADA, must not



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  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages as

  are afforded the non-visually disabled public both online and in the physical stores. As such,

  Defendant has subjected itself and the Websites to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Websites’ access barriers are removed or remedied,

  Defendant’s physical stores (including the outlet store located at The Colonnade at Sawgrass, 1800

  Sawgrass Mills Circle, Sunrise, Florida), and to search for the brick and mortar stores, check store

  hours and merchandise pricing, purchase merchandise, and sign up for an electronic emailer to

  receive exclusive offers, benefits, invitations, and discounts for use at the Websites or in

  Defendant’s physical stores. In the alternative, Plaintiff intends to monitor the Websites in the

  near future as a tester to ascertain whether it has been updated to interact properly with screen

  reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise and sign up for an

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use online and in

  the physical stores from his home are important and necessary accommodations for Plaintiff

  because traveling outside of his home as a blind and visually disabled individual is an often

  difficult, hazardous, frightening, frustrating, and confusing experience.        Defendant has not

  provided its business information in any other digital format that is accessible for use by blind and

  visually impaired individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.



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         20.     During the month of October 2021, Plaintiff attempted on a number of occasions

  to utilize the Websites to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-

  mortar stores, check store hours, and check pricing of merchandise with the intent to making a

  purchase through the Websites or in the physical stores. Plaintiff also attempted to access and

  utilize the Websites in his capacity as a tester to determine whether it was accessible to blind and

  visually disabled persons such as himself who use screen reader software to access and navigate

  company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Websites

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Return to home page/company logo button is mislabeled;

                 b. Product images are mislabeled as “link”;

                 c. Product name and price are inaccessible;

                 d. Inside the shopping cart the price is inaccessible; and

                 e. Social media links are mislabeled.

         22.     The Websites also lack prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill

  out online forms to purchase Defendant’s merchandise from the Websites.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Websites that would direct him to a webpage with contact information for disabled individuals



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  who have questions or concerns about, or who are having difficulties communicating with, the

  Websites. However, Plaintiff was unable to do so because no such link or notice, statement, or

  policy existed on the Websites.

         24.     The fact that Plaintiff could not communicate with or within the Websites left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as are provided on the Website and

  in the physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Websites’ access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Websites, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

  to his severe blindness and visual disability and the Websites’ access barriers. Alternatively, as a

  tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Websites due to his severe blindness and visual

  disability and the Websites’ access barriers. Thus, Plaintiff, as well as others who are blind and

  with visual disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts,

  omissions, policies, and practices as set forth herein unless properly enjoined by this Court.

         26.     Because of the nexus between Defendant’s retail stores and the Websites, and the

  fact that the Websites clearly provide support for and are connected to Defendant’s retail stores

  for its operation and use, the Websites are intangible services, privileges, and advantages of

  Defendant’s brick-and-mortar stores that must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages as




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  afforded the non-visually disabled public both online and in the physical stores, which are places

  of public accommodations subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Websites by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Websites by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Websites by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Websites by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Websites by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

          35.     Defendant has not created and instituted on the Websites a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Websites, applications, and digital assets

  accessible to the visually disabled or blind community.



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            36.   The Websites do not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

            37.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Websites to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Websites from their homes.

            38.   Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Websites in contravention of the ADA.

            39.   Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff.

            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites, such as the Websites at issue in the instant

  action.

            41.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Websites that prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            42.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Websites.

            43.   The barriers that exist on the Websites result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.




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         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                                         Trespass Violations

         48.     Plaintiff utilizes his computer to access websites such as the Websites.

         49.     Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff thus stores his personal information and retains his browsing history on his computer.

         50.     Based upon a review of the Website, when a user accesses the Websites, Defendant

  places software on the user’s personal computer and hard drive, without the user’s advance consent

  or knowledge. It is also clear that Defendant has used browser cookies to identify websites that

  the user has previously visited by accessing the user’s web browser history.

         51.     Defendant informs the Websites’ users that the users’ personal information and

  browsing history is collected and is used for targeted marketing and advertising.

         52.     Because of his blindness, Plaintiff was unable to comprehend the Websites;

  therefore, Plaintiff has had no choice, and likewise no knowledge, of Defendant’s installation of




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  data and information tracking software placed on his computer and the collection of the his

  browsing history and analytics.

         53.     As such, through its Websites, Defendant has committed a trespass against the

  Plaintiff, since the Websites place information gathering software on the Plaintiff’s computer

  without Plaintiff’s knowledge or consent.

                              COUNT I – VIOLATION OF THE ADA

         54.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         55.     Defendant is a public accommodation under the ADA as defined within

  §12181(7)(E) and is subject to the ADA.

         56.     Pursuant to 42 U.S.C. §12181(7)(E), the Websites are covered under the ADA

  because they provide the general public with the ability to locate and learn about Defendant’s

  stores, purchase merchandise that is also available for purchase in and from the physical stores,

  and sign up for an emailer to receive exclusive online offers, benefits, invitations, and discounts

  for use both online and in the physical stores. The Websites thus are extensions of, gateways to,

  and intangible services, privileges, and advantages of Defendant’s physical stores. Further, the

  Websites also serve to augment Defendant’s physical stores by providing the public information

  about the physical stores and by educating the public as to Defendant’s available merchandise sold

  through the Websites and in the physical stores.

         57.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.




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         58.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         59.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         60.     Defendant’s Websites must comply with the ADA, but they do not as specifically

  alleged hereinabove and below.

         61.     Because of the inaccessibility of the Websites, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Websites and in its physical stores in violation

  of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         62.     The Websites were subsequently visited by Plaintiff’s expert in November 2021,

  and the expert determination was that the same access barriers that Plaintiff had initially

  encountered, as well as numerous additional access barriers, existed. Despite being a defendant in

  several prior ADA accessibility lawsuits, which likely resulted in confidential settlement



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  agreements that obligated Defendant to fully remediate the Websites, Defendant has made

  insufficient material changes or improvements to the Websites to enable their full use and

  enjoyment by, and accessibility to, blind and visually disabled persons such as Plaintiff. Defendant

  furthermore has not disclosed to the public any intended audits, changes, or lawsuits to correct the

  inaccessibility of the Websites to visually disabled individuals, nor has it posted on the Websites

  an effective “accessibility” notice, statement, or policy to provide blind and visually disabled

  person such as Plaintiff with a viable alternative means to access and navigate the Websites.

  Defendant thus has failed to make reasonable modifications in its policies, practices, or procedures

  when such modifications are necessary to afford goods, services, facilities, privileges, advantages,

  or accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of

  a viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

  as alleged herein and as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

  hereto as Composite Exhibit “A” and the contents of which are incorporated herein by reference,

  continue to render the Websites not fully accessible to users who are blind and visually disabled,

  including Plaintiff.

          63.     More violations may be present on other pages of the Websites, which can and will

  be determined and proven through the discovery process in this case.

          64.     Further, the Websites do not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Websites’ accessibility information and

  accessibility facts.

          65.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines



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  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard.       Incorporating such basic components to make the Websites

  accessible would neither fundamentally alter the nature of Defendant’s business nor would it result

  in an undue burden to Defendant.

         66.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Websites by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Websites are ongoing.

         67.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         68.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         69.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         70.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.



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         71.     As alleged hereinabove, the Websites have not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         72.     As a direct and proximate result of Defendant’s failure to provide ADA compliant

  Websites, with a nexus to its brick-and-mortar physical store locations, Plaintiff has suffered an

  injury in fact by being denied full access to, enjoyment of, and communication with Defendant’s

  Websites and its physical stores.

         73.     Because of the inadequate development and administration of the Websites,

  Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to

  remedy the ongoing disability discrimination.

         74.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Websites to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations through the

  Websites.

         b) Require Defendant to take the necessary steps to make the Websites readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Websites’ being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Websites until such time that the requisite

  modifications are made, and




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         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Websites for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Websites being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Websites.

         75.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Websites, and continue

               to monitor and update the Websites on an ongoing basis, to remove barriers in order

               that individuals with visual disabilities can access, and continue to access, the Websites

               and effectively communicate with the Website to the full extent required by Title III of

               the ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Websites, wherein the logo1 would lead to a page which would




  1
                       or similar.
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           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Websites;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Websites;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Websites to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Websites to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Websites on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Websites to identify any

           instances where the Websites is no longer in conformance with the accessibility



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               requirements of the ADA and any applicable accessibility guidelines, and further

               directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

               counsel for review;

         J. An Order directing Defendant, by a date certain, to make publicly available and directly

               link from the Websites’ homepage, a statement of Defendant’s Accessibility Policy to

               ensure the persons with disabilities have full and equal enjoyment of the Websites and

               shall accompany the public policy statement with an accessible means of submitting

               accessibility questions and problems;

         K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

         L. Such other and further relief as the Court deems just and equitable.

                                       COUNT II – TRESPASS

         76.      Plaintiff re-alleges paragraphs 1 through 53 as if set forth fully herein.

         77.      Plaintiff’s tangible personal property, being his computer and the personal

  information and browsing history stored therein, has suffered a trespass by Defendant on each and

  every date that the Plaintiff has accessed Defendant’s Websites, due to Defendant’s employment

  of software analytics which are present on and through the Websites, which the Plaintiff has

  navigated.

         78.      At all relevant times, Plaintiff did not consent to and was unaware that the Websites

  were placing software on his computer due to his inability to effectively communicate with and

  fully view and access the Websites.

         79.      Plaintiff did not consent to the placement of tracking and information securing

  software on his computer; therefore, Defendant has committed a trespass against Plaintiff by

  placing such software on his computer without his knowledge or consent.



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         80.     By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass.

         81.     Defendant’s installation, operation, and execution of software on Plaintiff’s

  computer have directly and proximately impaired the condition and value of the Plaintiff’s

  computer, thereby causing Plaintiff damages.

         82.     The Websites have a “Privacy Policy” that discusses the automatic gathering of

  information from, and the automatic placement of cookies and other information gathering

  software on, computers of users of the Website such as Plaintiff. A copy of that “Privacy Policy”

  is attached hereto as Exhibit “B” and its contents are incorporated herein by reference.

         83.     Defendant’s trespass to chattels, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer , which

  programs should be installed and operated on his computer;

         d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         84.     Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.




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         WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: March 21st , 2022.



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